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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 UNITED STATES OF AMERICA, the                    §
 STATE OF TEXAS, the STATE OF                     §
 COLORADO, the STATE OF INDIANA, the              §
 STATE OF IOWA, the STATE OF                      §
 MINNESOTA, the STATE OF NEW                      §
 MEXICO, the STATE OF TENNESSEE,                  §
 the STATE OF WASHINGTON, ex. rel.                §
 HICHEM CHIHI,                                    §      Civil Action No. 4:18-cv-00123
                                                  §
                          Plaintiff-Relator,      §
                                                  §
                     v.                           §
                                                  §
 CATHOLIC HEALTH INITIATIVES; et al               §
                                                  §
                           Defendants.

              ORDER GRANTING DEFENDANT ALAN HOFFMAN, M.D.’S
                UNOPPOSED MOTION FOR EXTENSION OF TIME TO
               ANSWER RELATOR’S SECOND AMENDED COMPLAINT

       After consideration of Defendant Alan Hoffman, M.D.’s Unopposed Motion for Extension

of Time to Answer Relator’s Second Amended Complaint, the court finds the motion should be

GRANTED for the reasons stated therein. Accordingly, the Court GRANTS the Motion and

ORDERS as follows:

       Defendant Alan Hoffman, M.D. shall have until and including Friday, July 29, 2022 to

answer or otherwise respond to Relator’s Second Amended Complaint.

       Signed this _____ day of _______________________, 2022.


                                               _____________________________________
                                               JUDGE PRESIDING
